Case 1:24-cv-05874-NRB   Document 38-4   Filed 07/18/25   Page 1 of 8




            Exhibit D
                       Case 1:24-cv-05874-NRB                               Document 38-4                     Filed 07/18/25                 Page 2 of 8
SC 13D/A 1 sc13da313351002_08182022.htm AMENDMENT NO. 3 TO THE SCHEDULE 13D
                                                                UNITED STATES
                                                  SECURITIES AND EXCHANGE COMMISSION
                                                             Washington, D.C. 20549

                                                                                   SCHEDULE 13D
                                                                                    (Rule 13d-101)

                                                    INFORMATION TO BE INCLUDED IN STATEMENTS FILED PURSUANT
                                                    TO § 240.13d-1(a) AND AMENDMENTS THERETO FILED PURSUANT TO
                                                                              § 240.13d-2(a)

                                                                                  (Amendment No. 3)1

                                                                                Bed Bath & Beyond Inc.
                                                                                   (Name of Issuer)

                                                                       Common Stock, $0.01 par value per share
                                                                           (Title of Class of Securities)

                                                                                      075896100
                                                                                    (CUSIP Number)

                                                                                    RYAN NEBEL
                                                                         OLSHAN FROME WOLOSKY LLP
                                                                             1325 Avenue of the Americas
                                                                              New York, New York 10019
                                                                                    (212) 451-2300
                                                                   (Name, Address and Telephone Number of Person
                                                                  Authorized to Receive Notices and Communications)

                                                                                   August 16, 2022
                                                                (Date of Event Which Requires Filing of This Statement)

        If the filing person has previously filed a statement on Schedule 13G to report the acquisition that is the subject of this Schedule 13D, and is filing this schedule because of
§§ 240.13d-1(e), 240.13d-1(f) or 240.13d-1(g), check the following box ¨.

         Note: Schedules filed in paper format shall include a signed original and five copies of the schedule, including all exhibits. See § 240.13d-7 for other parties to whom
copies are to be sent.




1      The remainder of this cover page shall be filled out for a reporting person’s initial filing on this form with respect to the subject class of securities, and for any subsequent
amendment containing information which would alter disclosures provided in a prior cover page.

         The information required on the remainder of this cover page shall not be deemed to be “filed” for the purpose of Section 18 of the Securities Exchange Act of 1934 (“Act”)
or otherwise subject to the liabilities of that section of the Act but shall be subject to all other provisions of the Act (however, see the Notes).
                      Case 1:24-cv-05874-NRB             Document 38-4           Filed 07/18/25        Page 3 of 8
CUSIP No. 075896100

          1             NAME OF REPORTING PERSON

                            RC VENTURES LLC
          2             CHECK THE APPROPRIATE BOX IF A MEMBER OF A GROUP                                             (a) ☐
                                                                                                                     (b) ☐

          3             SEC USE ONLY


          4             SOURCE OF FUNDS


          5             CHECK BOX IF DISCLOSURE OF LEGAL PROCEEDINGS IS REQUIRED PURSUANT TO ITEM 2(d) OR 2(e)         ☐


          6             CITIZENSHIP OR PLACE OF ORGANIZATION

                             DELAWARE
     NUMBER OF                 7           SOLE VOTING POWER
      SHARES
    BENEFICIALLY                                -0-
     OWNED BY                     8        SHARED VOTING POWER
       EACH
     REPORTING                                  -0-
    PERSON WITH                   9        SOLE DISPOSITIVE POWER

                                                -0-
                               10          SHARED DISPOSITIVE POWER

                                              -0-
          11            AGGREGATE AMOUNT BENEFICIALLY OWNED BY EACH REPORTING PERSON

                            -0-
          12            CHECK BOX IF THE AGGREGATE AMOUNT IN ROW (11) EXCLUDES CERTAIN SHARES                          ☐


          13            PERCENT OF CLASS REPRESENTED BY AMOUNT IN ROW (11)

                             0%
          14            TYPE OF REPORTING PERSON

                             OO


                                                                    2
                      Case 1:24-cv-05874-NRB             Document 38-4           Filed 07/18/25        Page 4 of 8
CUSIP No. 075896100

          1             NAME OF REPORTING PERSON

                            RYAN COHEN
          2             CHECK THE APPROPRIATE BOX IF A MEMBER OF A GROUP                                             (a) ☐
                                                                                                                     (b) ☐

          3             SEC USE ONLY


          4             SOURCE OF FUNDS


          5             CHECK BOX IF DISCLOSURE OF LEGAL PROCEEDINGS IS REQUIRED PURSUANT TO ITEM 2(d) OR 2(e)         ☐


          6             CITIZENSHIP OR PLACE OF ORGANIZATION

                             CANADA
     NUMBER OF                 7           SOLE VOTING POWER
      SHARES
    BENEFICIALLY                                -0-
     OWNED BY                     8        SHARED VOTING POWER
       EACH
     REPORTING                                  -0-
    PERSON WITH                   9        SOLE DISPOSITIVE POWER

                                                -0-
                                  10       SHARED DISPOSITIVE POWER

                                              -0-
          11            AGGREGATE AMOUNT BENEFICIALLY OWNED BY EACH REPORTING PERSON

                            -0-
          12            CHECK BOX IF THE AGGREGATE AMOUNT IN ROW (11) EXCLUDES CERTAIN SHARES                          ☐


          13            PERCENT OF CLASS REPRESENTED BY AMOUNT IN ROW (11)

                             0%
          14            TYPE OF REPORTING PERSON

                             IN


                                                                    3
                       Case 1:24-cv-05874-NRB                             Document 38-4                   Filed 07/18/25                 Page 5 of 8
CUSIP No. 075896100


                  The following constitutes Amendment No. 3 to the Schedule 13D filed by the undersigned (“Amendment No. 3”). This Amendment No. 3 amends the Schedule
13D as specifically set forth herein.

Item 5.          Interest in Securities of the Issuer.

                 Items 5 (a) – (c) and (e) are hereby amended and restated to read as follows:

                 (a), (b) As of the date hereof, none of the Reporting Persons beneficially owned any Shares, constituting 0% of the Shares outstanding.

                  (c)     Schedule A annexed hereto lists all transactions in securities of the Issuer by the Reporting Persons since the filing of Amendment No. 2 to the Schedule
13D. All of such transactions were effected in the open market.

                 (e)    As of August 17, 2022, the Reporting Persons ceased to beneficially own more than 5% of the outstanding Shares.

Item 6.          Contracts, Arrangements, Understandings or Relationships With Respect to Securities of the Issuer.

                 Item 6 is hereby amended to add the following:

                 Following the transactions reported in Schedule A annexed hereto, the Reporting Persons no longer owned any options with respect to the Issuer.

                                                                                          4
                      Case 1:24-cv-05874-NRB                            Document 38-4                    Filed 07/18/25                Page 6 of 8
CUSIP No. 075896100

                                                                                 SIGNATURES

                 After reasonable inquiry and to the best of his knowledge and belief, each of the undersigned certifies that the information set forth in this statement is true,
complete and correct.

Dated: August 18, 2022

                                                                                            RC Ventures LLC

                                                                                            By:        /s/ Ryan Cohen
                                                                                                       Name:          Ryan Cohen
                                                                                                       Title:         Manager


                                                                                            /s/ Ryan Cohen
                                                                                            Ryan Cohen


                                                                                        5
                        Case 1:24-cv-05874-NRB                             Document 38-4                 Filed 07/18/25                Page 7 of 8
CUSIP No. 075896100


                                                                                 SCHEDULE A

                                        Transactions in Securities of the Issuer Since the Filing of Amendment No. 2 to the Schedule 13D

                                                              Securities                                   Price Per                                    Date of
            Nature of the Transaction                           Sold                                      Security($)                                    Sale

                                                                             RC VENTURES LLC

    Sale of Common Stock                                       446,399                                     18.68481                                    08/16/2022
    Sale of Common Stock                                       812,448                                     19.48172                                    08/16/2022
    Sale of Common Stock                                      1,443,818                                    20.78343                                    08/16/2022
    Sale of Common Stock                                      1,059,021                                    21.42094                                    08/16/2022
    Sale of Common Stock                                       795,559                                     22.70935                                    08/16/2022
    Sale of Common Stock                                       169,335                                     23.32936                                    08/16/2022
    Sale of Common Stock                                       103,901                                     24.86857                                    08/16/2022
    Sale of Common Stock                                       104,077                                     25.59188                                    08/16/2022
    Sale of Common Stock                                       65,442                                     26.27139                                     08/16/2022
    Sale of Common Stock                                       189,689                                    23.733710                                    08/17/2022
    Sale of Common Stock                                       512,185                                    24.626611                                    08/17/2022
    Sale of Common Stock                                       896,238                                    25.499712                                    08/17/2022
    Sale of Common Stock                                       610,828                                    26.443213                                    08/17/2022
    Sale of Common Stock                                       323,483                                    27.575614                                    08/17/2022
    Sale of Common Stock                                       140,788                                    28.512215                                    08/17/2022
    Sale of Common Stock                                       106,789                                    29.219216                                    08/17/2022
    Sale of January 2023 Call Option ($60
                                                                7,475                                      6.546618                                    08/17/2022
    Exercise Price)17
    Sale of January 2023 Call Option ($60
                                                                3,782                                      8.617719                                    08/17/2022
    Exercise Price)17
    Sale of January 2023 Call Option ($75
                                                                 444                                       5.659620                                    08/17/2022
    Exercise Price)17
    Sale of January 2023 Call Option ($80
                                                                3,826                                      5.343321                                    08/17/2022
    Exercise Price)17
    Sale of January 2023 Call Option ($80
                                                                1,174                                      7.026422                                    08/17/2022
    Exercise Price)17


1
  Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $18.0600 to $19.0500, inclusive. The Reporting Persons undertake to
provide the Issuer, any security holder of the Issuer or the staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at
each separate price within the range set forth in this footnote.

2
  Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $19.0600 to $20.0100, inclusive. The Reporting Persons undertake to
provide the Issuer, any security holder of the Issuer or the staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at
each separate price within the range set forth in this footnote.

3 Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $20.1200 to $21.1100, inclusive. The Reporting Persons undertake to
provide the Issuer, any security holder of the Issuer or the staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at
each separate price within the range set forth in this footnote.

4
  Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $21.1200 to $22.1100, inclusive. The Reporting Persons undertake to
provide the Issuer, any security holder of the Issuer or the staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at
each separate price within the range set forth in this footnote.

5 Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $22.1300 to $23.1200, inclusive. The Reporting Persons undertake to
provide the Issuer, any security holder of the Issuer or the staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at
each separate price within the range set forth in this footnote.

6
  Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $23.1300 to $23.8400, inclusive. The Reporting Persons undertake to
provide the Issuer, any security holder of the Issuer or the staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at
each separate price within the range set forth in this footnote.

7 Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $24.1500 to $25.1400, inclusive. The Reporting Persons undertake to
provide the Issuer, any security holder of the Issuer or the staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at
each separate price within the range set forth in this footnote.

8
  Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $25.1500 to $26.0600, inclusive. The Reporting Persons undertake to
provide the Issuer, any security holder of the Issuer or the staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at
each separate price within the range set forth in this footnote.

9
  Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $26.1500 to $26.4500, inclusive. The Reporting Persons undertake to
provide the Issuer, any security holder of the Issuer or the staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at
each separate price within the range set forth in this footnote.
                       Case 1:24-cv-05874-NRB                             Document 38-4                   Filed 07/18/25                Page 8 of 8
10
   Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $23.0600 to $24.0500, inclusive. The Reporting Persons undertake to
provide the Issuer, any security holder of the Issuer or the staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at
each separate price within the range set forth in this footnote.

11 Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $24.0600 to $25.0500, inclusive. The Reporting Persons undertake to
provide the Issuer, any security holder of the Issuer or the staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at
each separate price within the range set forth in this footnote.

12
   Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $25.0600 to $26.0500, inclusive. The Reporting Persons undertake to
provide the Issuer, any security holder of the Issuer or the staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at
each separate price within the range set forth in this footnote.

13 Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $26.0600 to $27.0500, inclusive. The Reporting Persons undertake to
provide the Issuer, any security holder of the Issuer or the staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at
each separate price within the range set forth in this footnote.

14
   Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $27.0600 to $28.0500, inclusive. The Reporting Persons undertake to
provide the Issuer, any security holder of the Issuer or the staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at
each separate price within the range set forth in this footnote.

15 Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $28.0600 to $29.0500, inclusive. The Reporting Persons undertake to
provide the Issuer, any security holder of the Issuer or the staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at
each separate price within the range set forth in this footnote.

16
   Represents a weighted average price. These Shares were sold in multiple transactions at prices ranging from $29.0600 to $29.9900, inclusive. The Reporting Persons undertake to
provide the Issuer, any security holder of the Issuer or the staff of the Securities and Exchange Commission, upon request, full information regarding the number of Shares sold at
each separate price within the range set forth in this footnote.

17 Exchange-listed American-style call options with expiration date of January 20, 2023.


18
   Represents a weighted average price. These call options were sold in multiple transactions at prices ranging from $6.4000 to $6.9500, inclusive. The Reporting Persons undertake
to provide the Issuer, any security holder of the Issuer or the staff of the Securities and Exchange Commission, upon request, full information regarding the number of call options
sold at each separate price within the range set forth in this footnote.

19
   Represents a weighted average price. These call options were sold in multiple transactions at prices ranging from $8.5000 to $8.9000, inclusive. The Reporting Persons undertake
to provide the Issuer, any security holder of the Issuer or the staff of the Securities and Exchange Commission, upon request, full information regarding the number of call options
sold at each separate price within the range set forth in this footnote.

20 Represents a weighted average price. These call options were sold in multiple transactions at prices ranging from $5.6500 to $5.7000, inclusive. The Reporting Persons undertake
to provide the Issuer, any security holder of the Issuer or the staff of the Securities and Exchange Commission, upon request, full information regarding the number of call options
sold at each separate price within the range set forth in this footnote.

21
   Represents a weighted average price. These call options were sold in multiple transactions at prices ranging from $5.2000 to $5.8500, inclusive. The Reporting Persons undertake
to provide the Issuer, any security holder of the Issuer or the staff of the Securities and Exchange Commission, upon request, full information regarding the number of call options
sold at each separate price within the range set forth in this footnote.

22 Represents a weighted average price. These call options were sold in multiple transactions at prices ranging from $6.9000 to $7.4500, inclusive. The Reporting Persons undertake
to provide the Issuer, any security holder of the Issuer or the staff of the Securities and Exchange Commission, upon request, full information regarding the number of call options
sold at each separate price within the range set forth in this footnote.
